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UNITE STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

X
UNITED STATES OF AMERICA, 1:18-Cr-00633-ERK-6
Plaintiff
Vs. NOTICE OF APPEARANCE
SERGEY OVSYANNIKOV
____ _______ X

 

PLEASE TAKE NOTICE, that the BUKH LAW FIRM, PLLC has been retained
and hereby appears in the above-entitled action as counsel for Defendant
SERGEY OVSYANNIKOV and requests that all papers in this action be served
upon the undersigned

Dated; Brooklyn, NY
Noveinber 28, 2018
Arkady Bul<h, Esq

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